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      In The United States Court of Federal Claims
                           Nos. 07-06T, 07-706T, 08-135T, and 08-605T

                                        (Filed: May 7, 2010)
                                             __________
 PRINCIPAL LIFE INSURANCE COMPANY
 AND SUBSIDIARIES, et. al.,

                         Plaintiff,

         v.

 THE UNITED STATES,

                         Defendant.
                                             _________

                                             ORDER
                                            __________

         On March 22, 2010, the parties filed a proposed discovery plan for Phase II of this
litigation, which provides for discovery on claims involving (i) custodial share receipts;
 (ii) perpetual securities (including penalties); and (iii) previously taxed income (including
penalties). Accordingly, the court adopts the following schedule for Phase II discovery:

       1.       On or before October 1, 2010, the parties shall determine whether a
                representative transaction(s) may be selected for one or more of the
                three Phase II issues, the disposition of which would control by
                stipulation all remaining transactions in the relevant issue;

       2.       On or before May 1, 2011, fact discovery shall be completed;

       3.       On or before June 1, 2011, the parties shall disclose their expert
                witnesses and submit their expert reports;

       4.       On or before July 1, 2011, the parties shall disclose their rebuttal
                expert witnesses and submit their rebuttal expert reports;

       5.       On or before September 1, 2011, expert discovery shall be
                completed; and

       6.       On or before September 8, 2011, the parties shall file a joint status
                report indicating how this case should proceed.
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        The court denies, without prejudice, defendant’s request to modify the discovery
limitations in the RCFC. Defendant may file a motion seeking specific relief from those
limitations as the need arises.

       IT IS SO ORDERED.



                                                           s/ Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge




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